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            .IN THE COURT OF THE FEDERAL DISTRICT OF SOUTH DAKOTA
Christopher William The Living Man                            Case # I ^ ^ ^            -l?
                Claimant

V.


Paul Tenhaken

Sean Coistra

                      Defendant




I, Christopher William, The Living Man, on this date, do bring action against Paul Tenhaken for
the purpose of claiming damage in fact in an Article ni court ofcommon law.
STANDING

The claimant has standing, in that he is no U.S. Citizen, but instead is a twice authenticated State
National ofthe Republic, in the Territory of South Dakota; a living breathing man, and not a
"Resident" ofthe corporate entities of THE STATE OF SOUTH DAKOTA,INC., or THE CITY
OF SIOUX FALLS,INC.

VENUE

As these events occurred in the territory of South Dakota, and the claimant lives in this territory,
as does the defending party, venue is located in this federal district.
JURISDICTION

This matter falls under the "Federal Question"jurisdiction; and subject matter falls under this
court, since the question concems a conspiracy against the Constitutional rights ofthe claimant,
and that attempts were made to deprive the claimant of his unalienable and Constitutional rights
using color of law. Also, a matter concerning the reach ofthe "Freedom ofInformation Act" is
in question. It should also be noted that this matter has gone as far as possible where the
COUNTY OF MINNEHAHA INC. is concerned, as the State court would not allow me to file
action without a "State issued ID." The claimant also reserved his rights, and claims the right to
amend this claim to add AAA Collections, LLC,should the possibility that they will not resolve
this matter, arise.



FACTS OF THE CASE

     1. On or around the date of November 18^, a message was submitted to Defendant
        Tenhaken,informing him that we had a friend in common,and that this person knew his
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   whole family. The plaintiff left this message as only a friendly heads up that we knew
   someone in common that I respected, and that I guessed the defendant did too.

2. On November 20*^, the claimant received a voicemail from a Sgt. Sean Coistra, asking
   the claimant to return his call.



3. Upon returning this call, Sgt. Sean Coistra proceeded to warn me that I should no longer
   send such a personal message to Mr. Tenhaken, presenting that he intended to conspire
   with defendant Tenhaken to violate my inalienable right offree speech.

4. On or around the date of March 10'*', 2019,the claimant sent several copies of a
   document to around 72 city workers, which included a quote of mine that said: I bet the
   first person to say "You can't fight city hall" was a person who worked for city hall who
   was tired of people fighting city hall all the time. I say, you can fight city hall, you just
   need a bigger gun, better bullets and harder armor."

5. On the date of March \2^,the claimant received a voicemail from Sgt. Sean Coistra,
   asking the claimant to return the call.

6. On the same date, the claimant returned his call, and Sgt. Sean Coistra warned me to
   remove this quote from the document before sending it to anyone else, essentially
   presenting once again, that he intended to conspire with the defendant, Mr. Tenhaken, to
   once again, violate my inalienable right offree speech.


7. On the date of or around December 29'*^, 2018, a FOIA request question and answer
   sheet was submitted to "The City of Sioux Falls, Inc.,", a business run by Mr. Paul
   Tenhaken, its apparent Administrator; via email; asking for all information available on
   record for on a brand new technology currently being installed within the limits of"The
   City of Sioux Falls, Inc." - The 5G Cell Phone upgrade; and the plan to make Sioux Falls
   a "Smart City", as well as all information about its new LED lighting system.

8. On the date of or around December 3 a return email was sent to the claimant, inferring
   that, in providing answer to the FOIA,the claimant could possibly incur some additional
   costs. The first was quoted as $.lO/copy, and the 2°*^ at $7.50/hr. for "record searching,"
   as it is not at all described in any detail in "The City of Sioux Falls" ordinance of41.003;
   nor did it even appear as absolute that these service charges would occur. The statute
   reads, ver batum:


          "a. The following fees shall be paid for record search and
          production of documents for the public: Service:
          Photocopies/page@$0.10; Record Search/hour@$7.50"
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           NOTE: This statute and its chapter do nothing to define these services at all.


9. The claimant emailed back to "The City of Sioux Falls, Inc." an email, which only said:
   "That's fine. Go ahead."




10. On the date of approximately February 2, 2019,the claimant received the answer to the
    request, in the form of approximately 12 pages of a printed reply letter ($.10/copy x 12 =
   $1.20)and a small off-brand 8 GB thumb drive with approximately 20 varying files on it,
   of which 2 were possibly useful in my request(the contract for Verizon, and another like
   it). The answers to the specific questions asked in the FOIA request were largely not
   answered and fielded as not being the responsibility ofthe City's Council to answer; nor
   were any attempts made to direct the claimant to anywhere that he might find these
   answers. Included with this package was a bill as issued the claimant by "The City of
   Sioux Falls (Inc.)" in the amount of$115.82, for 14 hours of"Multi-Media Support", a
   term not described in this business's "codes",those quoted in billing the claimant; nor
   was this "support" mentioned as possibly chargeable at all in the corresponding emails.

11. On the date ofFebruary 8*^, 2019, the claimant sent payment and a letter to "The City of
   Sioux Falls, Inc." The claimant offered to settle this unlawful bill in the form ofthe only
   recently discoverable means of making this payment lawfully that I'm aware of: coffee
   beans, at a rate of 1 whole bean per dollar, and which also included the full set oflegal
   paperwork (in affidavit form, signed in blue and thumbprint in red, witnessed by the
   same); which fully explains this justifiable method of payment. All ofthis was sent to
   the address provided on the bill for "The City of Sioux Falls (Inc.)" via certified mail,
   with return receipt. I also added that I wanted a receipt marked "Paid in full" to be
   mailed to me. The package was delivered and signed on or around February 1T^,2019.

12. Between the dates of February 11*^, 2019 and the first date of a bill sent to the claimant's
   current address from AAA collections in the amount allegedly owed "The City of Sioux
   Falls, Inc.", no return ofthe claimant's payment was sent the claimant by mail; nor did
   the claimant ever receive mail indicating that the bill was not able to be paid in this
   manner; nor did the claimant ever receive a subsequent follow-up for the original bill; nor
   was one ever mailed to or received by any occupying parties at his current home address.

13. On or around the approximate date of April 2,2019, the claimant then received the now
    $116 bill from AAA Collections, LLC,addressed to a dead corporate entity named
    CHRISTOPHER BRUCE; demanding payment ofthe bill, and threatening this entity
    with legal retributions.

14. On or around the date of4/16/2019, the claimant made an attempt to serve notice of
   Cease and Desist/Intent to file civil suit to the individual/defendant Paul Tenhaken's
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     personal secretary. Upon approach to the office of Mr. Tenhaken at City Hall, I was
     identified mistakenly as "Mr. Bruce," and called over by the building's security officer
     on duty at the time. Even though this has not been my name for 4 years, it used to be,
     and I was sure he was on the lookout for me,since I had made my service attempt
     common knowledge. As I wanted the notice served, I humored him. This person was,
     evidently, a person able to accept service on behalf ofPaul Tenhaken, and he did so at
     this time, stating he would take them for him. I then produced copy of all that I was
     giving the defendant at this time; and had the security officer sign the copies as
     "received" for my records. The man who accepted the notice was identified as Greg
     DeBoer, and this was confirmed via phone call information and by signature. He is
     allegedly a retired police officer, badge #622. The receipt for "Paid in full" was asked for
     again in this notice.

  15. On or around 4/24/2019, the claimants received a charge of now $120.90 from AAA
      Collections LLC,addressed to the same dead corporate entity as before(CHRISTOPHER
     BRUCE,ALL CAPS), and not this claimant.

  16. On or around the date of4/26/2019, the claimant issued notice to cease and desist all
     communications/intent to file civil action to the 2"^ defending party- AAA
     COLLECTIONS,LLC., along with a letter disputing the validity of Mr. Tenhaken's bill.
     Attached with this notice was evidence ofthe all that had transpired between this Living
     Man and "The City of Sioux Falls, Inc." concerning the matter they were attempting to
     collect. As ofthis date, there has been no response from the defendants Paul Tenhaken or
     AAA Collections, LLC.


GROUNDS FOR DAMAGE AND REQUEST FOR REMEDY:


     It was ruled in the Supreme Court ofthe United States that neither the UNITED
     STATES,INC., OR IT'S LESSER FRANCHISES,THE STATE OF SOUTH DAKOTA,
     INC, THE COUNTY OF MINNEHAHA INC.; and THE CITY OF SIOUX FALLS,
     INC. has any granted or legal authority to affect or enforce any corporate by-laws, rules,
     ordinances or statutes against; or punish as a result ofthe alleged "violation" ofthe
     aforementioned, on a designated State National(South Dakotan), A Living Breathing
     Man in common law, or a person with address in the Republic or the Territory of South
     Dakota. According to the same ruling, all ofthese fictions are, and I quote,"Figments of
     my imagination."

     Also, there are currently no records in my current home state ofimplied, presumed, or
     assumed consent made to the aforementioned, to consent to be ruled by its bylaws(or
     entered into verbal or written agreements)between any ofthese entities and the claimant
     on file anywhere; save the email agreeing to the POSSIBLE charges that might be
     incurred of me in answer to my FREEDOM OF INFORMATION ACT REQUEST;
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  which it would appear is hardly free at all. Should the email conversation between an
  actor for the corporate fiction and the claimant be somehow able to allow the court to
  construct an implied or verbal contract between the claimant and the 2 defending parties;
  know that, upon doing so, the claimant will then claim damage, in that the terms and
  conditions implied in any subsequent responses (or, in this case, NON-responses) by
  those ofthis franchise were largely violated, since no answer was provided to most
  questions, no breakdown of work performance was given the claimant, and the work
  discussed and defined by City's ordinances did not match what the claimant was billed
  for. Furthermore, both the bill and its subsequent collection was addressed to
  CHRISTOPHER BRUCE,a dead corporate entity, an entity I have not been for nearly 4
  years now. Currently, there are no other States carrying any such contracts or agreements
  with the claimant either.


  The claimant requests, therefore, as his remedy for the damage in fact by Paul Tenhaken
  including, but not limited to: unfair billing for almost no service that was either defmed
  or rendered, the disregard ofthe payment made,costs that were incurred during these
  processes which are, but are not limited to: Mailing costs, printing costs; hours spent on
  legal documents and services, my valuable time (at the rate of $100/per hour), and the
  damage made to the claimant's credit score that occurred when Paul Tenhaken,for the
  25% ofthis bill he received from AAA Collections, LLC for turning it over to this
  defendant for collecting, without additional attempts to re-collect his alleged "Bill;" did
  not send the payment sent in back to the claimant, did not present the claimant with
  additional notice ofthe amount due; but instead turned it over to defending party AAA
  Collections LLC;the claimant asks the court to grant the claimant the amormt of$5,000
  in lawful currency, defined by the Constitution ofthe United States(Gold or silver) be
  paid the claimant, for the harm done to him and his good name.

  In damage by AAA Collections; For the damage of harassment ofthis claimant on two
  separate occasions; on the basis of an unlawful attempt to extort FRN's from the claimant
  for no service rendered by the franchise business "The City of Sioux Falls;" and
  attempting to assign this debt to a debtor that does not exist; and utilizing the color oflaw
  and threats of legal duress; the court is asked to award the plaintiff the amount of
  $1000.00 in lawful Constitutional money(gold or silver) for pain and suffering.

  The claimant would also ask this court to grant the claimant injunctive relief against the
  individual Paul Tenhaken in the form of a one-way enforceable restraining order with
  negotiable conditions, to ensure the claimant no actions of retribution befall the claimant
  out ofthe defendant's likely vindictive feelings; those that may result from the decision
  made in this action.
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                                                            Date
              William m the family of Bruce, a living man
                      eserved, without Prejudice


                         I r, I—Cc   ]f.                    Date U?-'   2Sj\^~
  Elizabeth Marie ofthe family of Bruce, a living woman
  Witness
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JS44 (Rev.06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the infomiation contained herein neither replace nor sumlement the filing and service of pleadings or other papers as required by law, except as
provided by local rules ofcourt This form, approved by the Judicial Conference of the United States m September 1974, is required for the use of the Clerk of Court tor the
purpose ofinitiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)
1.(a) PLAINTIFFS                                                                                            DEFENDANTS




  (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                (EXCEPTIN U.S. PLAINTIFF CASl^)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.


                                                                                                             Attorneys(IfKnown)
  (c) Attomeys(Firm Name. Address, and Telephone Number)




           ^^RISDICT
II. BASIS OF^RISDICTION (Place an "X"in One Box Only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                      (For Diversity Cases Only)       and One Boxfor Defendant)
                                            Federal Question                                                                                    DEF                                                 PTF      DEE
                                                                                                   Citizen of This State          gu ^ Incorporated or Principal Place                               04 04
D 1   U.S. Government
         Plaintiff                             (U.S Government Not a Party)
                                                                                                                                                             of Business In This State


□ 2   U.S. Government                □ 4    Diversity                                              Citizen of Another State        □ 2          0     2    Incorporated and Principal Place          0 5      0 5

         Defendant                            (Indicate Citizenship ofParties in Item III)                                                                   of Business In Another State

                                                                                                   Citizen or Subject of a         □ 3          O 3        Foreign Nation                            □ 6      O 6
                                                                                                     Foreign Country

IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                               Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               rORTS                                FORFEITURE/PENAL lY                           BANKRUPTCY               I        OTHER STATUTES"
O 110 Insurance                         PERSONAL INJURY               PERSONAL INJURY              □ 625 Drug Related Seizure             □ 422 Appeal 28 USC 158                G 375 False Claims Act

O 120 Marine                        O 310 Airplane                 O 365 Personal Injuiy -               of Property 21 USC 881           O 423 Withdrawal                       O 376 Qui Tarn (31 USC
□ 130 Miller Act                    0 315 Airplane Product               Product Liability         □ 690 Other                                      28 USC 157                           3729(a))
O 140 Negotiable Instrument               Liability                O 367 Health Care/                                                                                            G 400 State Reapportionment
                                                                          Pharmaceutical                                                       PROPERTY RIGHTS                   G 410 Antitrust
O 150 Recovery of Overpayment O 320 Assault, Libel &
      & Enforcement of Jut^ment     Slander                               Personal Injury                                                 □ 820 Copyrights                       G 430 Banks and Banking
                                                                          Product Liability                                               □ 830 Patent                           G 450 Commerce
0 151 Medicare Act                  O 330 Federal Employers'
O 152 Recovery of Defaulted                 Liability              □ 368 Asbestos Personal                                                □ 835 Patent - Abbreviated             G 460 Deportation
       Student Loans                O 340 Marine                           Injury Product                                                        New Drug Application            G 470 Racketeer Influenced and
       (Excludes Veterans)          O 345 Marine Product                   Liability                                                      n 840 Trademark                                Corrupt Organizations
                                            Liability                PERSONAL PROPERTY                           LABOR                         SOCIAL SECURITY                   G 480 Consumer Credit
O 153 Recovery of Overpayment
       of Veteran's Benefits        O 350 Motor Vehicle            O 370 Other Fraud               G 710 Fair Labor Standards             O 861 HlA(1395ff)                      O 490 Cable/Sat TV

                                    O 355 Motor Vehicle            □ 371 Truth in Lending                  Act                            G 862 Black Lung (923)                 G 850 Securities/Commodities/
O 160 Stockholders'Suits
                                    ^      Product Liability       □ 380 Other Personal            G 720 Labor/Management                 O 863 DIWC/DIWW (405(g))                       Exchange
O 190 Other Contract
O 195 Contract Product Liability    W.J60 Other Personal                 Property Damage                   Relations                      □ 864 SSID Title XVI                   G 890 Other Statutory Actions
O 196 Franchise                           Injury                   O 385 Property Damage           G 740 Railway Labor Act                □ 865 RSI (405(g))                     G 891 Agricultural Acts
                                    O 362 Personal Injury -                Product Liability       G 751 Family and Medical                                                      G 893 Environmental Mttfters
                                           Medical Malpractice                                             Leave Act                                                             G 895 Freedom of Information
       REAL PROPERTY                     CIVIL RIGHTS               PRISONER PETITIONS             G 790 Other Labor Litigation                FEDERAL TAX SUITS                         Act

□ 210 Land Condemnation                     Other Civil Rights        Habeas Corpus:               G 791 Employee Retirement              G 870 Taxes (U.S. Plaintiff            G 896 Arbitration

□ 220 Foreclosure                   □ 441 Voting                   G 463 Alien Detainee                   Income Security Act                    or Defendant)                   G 899 Administrative Procedure
                                    □ 442 Employment               G 510 Motions to Vacate                                                O 871 IRS—Third Party                        Act/Review or Appeal of
□ 230 Rent Lease & Ejectment
                                    □ 443 Housing/                         Sentence                                                                 26 USC 7609                        Agency Decision
□ 240 Torts to Land
□ 245 Tort Product Liability                Accommodations         G 530 General                                                                                                 G 950 Constitutionality of
                                    O 445 Amer. w/Disabilities •   G 535 Death Penalty                     IMMIGRATION                                                                   State Statutes
G 290 All Other Real Property
                                           Employment                 Other:                        G 462 Naturalization Application
                                    □ 446 Amer. w/Disabilities     G 540 Mandamus & Other           G 465 Other Immigration
                                            Other                  G 550 Civil Rights                      Actions
                                     O 448 Education               G 555 Prison Condition
                                                                   G 560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement

V. ORIGIN (Place an "X" in One Box Only)
       Original          0 2 Removed from                □ 3 Remanded/rom                      0 4 Reinstated or       O 5 Transferred from                O (> Muitidistrict
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       Proceeding               S tate Court                       Appellate Court                  Reopened                  Another District
                                                                                                                              (specify)                           Transfer                       Direct File

                                         Cj^e the U.S. Ci^ StaMgunder which you are filing (Do not citeJurisdicdonalstatui^ ui^ssd^er^
VI. CAUSE OF ACTION
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VII. REQUESTED IN                        □ CHECK IF THIS IS^LASS ACTH^                               IdEMAND $                             j          ''CHECfc Yts only if detiAn
                                                                                                                                                                               linded in complai;

        COMPLAINT:                             UNDER RULE 23, F.R.Cv.P                                                                 y                  JURY DEMAND-                     Yes        DNo

 VIII. RELATED CASE(S)
                                            (See instructions)
        IF ANY                                                      JUDGE                                                                      DOCKET NUMBER

DATE                                                                                                     )F RfCORD




   RECEIPT #                       AMOUNT                                  APPL^ ING IFP                                     JUDGE                                 MAG. JUDGE
